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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 American Library Association, et al.,

                Plaintiffs,

        v.                                             Case No. 1:25-cv-01050

 Keith Sonderling, et al.,

                Defendants.



                MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR
                     TEMPORARY RESTRAINING ORDER

       This Court is familiar with the facts and procedural history of this case. On May 1, 2025,

the Court issued a temporary restraining order (TRO) prohibiting Defendants Keith Sonderling,

IMLS, Amy Gleason, U.S. DOGE Service, U.S. DOGE Service Temporary Organization, Russell

Vought, and U.S. Office of Management and Budget (the “Agency Defendants”) from: taking any

further actions to dissolve IMLS or its operations; placing any additional IMLS staff on

administrative leave; terminating the employment of any IMLS staff; or further pausing, canceling,

or otherwise terminating IMLS grants or contracts or fail to fund such grants or contracts for

reasons other than grantees’ or contractors’ non-compliance with applicable grant or contract

terms. ECF 36. After the Court extended the duration of the TRO to May 29, 2025, Min. Order

(May 7, 2025), the TRO expired on May 29. Although a preliminary injunction is currently in

place in Rhode Island v. Trump (“RI PI”), No. 25-cv-128, ECF 60 (May 13, 2025), whose scope

extends to Plaintiff ALA and some of Plaintiffs’ members, other members outside the scope of the

RI PI face imminent harm should Agency Defendants terminate their IMLS grants. Plaintiffs seek
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a narrow TRO that protects these members from irreparable harm resulting from the termination

of IMLS grants until this Court issues a decision on Plaintiffs’ pending motion for a preliminary

injunction (ECF 13). In the alternative, Plaintiffs respectfully request that the Court grant

Plaintiffs’ motion for a preliminary injunction within seven days.

I. The Court should issue a narrow temporary restraining order protecting Plaintiffs’
   members from harm resulting from the potential termination of IMLS grants.

       To obtain a temporary restraining order, “the moving party must show: (1) a substantial

likelihood of success on the merits; (2) that it would suffer irreparable injury if the [temporary

restraining order] were not granted; (3) that [such an order] would not substantially injure other

interested parties; and (4) that the public interest would be furthered” by the order. Chaplaincy of

Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006) (citations omitted); see also

Hall v. Johnson, 559 F. Supp. 2d 1, 3 n.2 (“[T]he same standard applies to both temporary

restraining orders and to preliminary injunctions.” (citation omitted)). “When the movant seeks to

enjoin the government, the final two TRO factors—balancing the equities and the public interest—

merge.” D.A.M. v. Barr, 474 F. Supp. 3d 45, 67 (citing Pursuing Am.’s Greatness v. FEC, 831

F.3d 500, 511 (D.C. Cir. 2016)). Plaintiffs refer the Court to the briefing and record materials

submitted in support of Plaintiffs’ pending motion for a preliminary injunction, as well as

Plaintiffs’ arguments at the hearing on April 30, 2025. Plaintiffs make the additional points below

to support their request for a narrow TRO. 1




1
 Plaintiffs do not seek relief as to IMLS staff in this motion. For the purpose of this request for a
narrow and necessarily time-limited TRO, Plaintiffs focus on relief as to unlawful IMLS shutdown
activity not enjoined by the RI PI. As noted below, however, the relief provided by the RI PI is not
adequate to protect Plaintiffs’ interests for more than a very short period.



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        First, the RI PI does not reach all of Plaintiffs’ members. 2 Provision 6 of the RI PI prohibits

Defendants Sonderling, IMLS, Vought, and OMB from further pausing, canceling, or otherwise

terminating IMLS grants or contracts or failing to disburse funds to recipients according to such

grants or contracts for reasons other than the grantees’ or contractors’ non-compliance with

applicable grant or contract terms, but it only extends to grant recipients in the plaintiff states in

that case. RI PI at 4. Plaintiffs have members all over the country, including in states that are not

plaintiffs in Rhode Island v. Trump.

        Plaintiffs note that provisions 1 and 2 of the RI PI generally enjoin the defendants from

implementing Section 2 of Executive Order 14,238, “Continuing the Reduction of the Federal

Bureaucracy” (“EO”), as to IMLS and require the defendants promptly to take all necessary steps

to reverse measures designed or intended, in whole or in part, to implement the EO with respect to

IMLS. RI PI at 2–3. To the extent Agency Defendants terminate a grant or refuse to disburse funds

pursuant to a grant originating in a non-plaintiff state for reasons other than non-compliance with

the applicable terms, Plaintiffs understand that action would violate provisions 1 and 2 of the RI

PI. However, Plaintiffs are not parties to that litigation and therefore cannot represent their interests

there. Additionally, as Plaintiffs stated in their filing of May 28, 2025 (ECF 45 at 3), the defendants

in that case have moved to stay the RI PI in both the district and appellate courts, and their motions

are pending, creating substantial uncertainty. Should Agency Defendants terminate or fail to



2
  The RI PI “does not lessen the severity of the potential irreparable harm in this case.” Nat’l
Council of Nonprofits v. Off. of Mgmt. & Budget, No. CV 25-239 (LLA), 2025 WL 597959, at *18
n.13 (D.D.C. Feb. 25, 2025). “This court has no control over the District of Rhode Island’s
decisions and a [PI] in that case does ‘not block this court from entering a TRO of its own.’” Id.
(discussing TRO binding OMB in another case); see also Whitman-Walker Clinic, Inc. v. U.S.
Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 60 (D.D.C. 2020) (“[C]ourts routinely grant
follow-on injunctions against the Government, even in instances when an earlier nationwide
injunction has already provided plaintiffs in the later action with their desired relief.”) (collecting
cases).


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disburse funds for grants originating in non-plaintiff states, Plaintiffs’ members in those states face

imminent harm for the reasons discussed in Plaintiffs’ briefs and declarations. See, e.g., Gaber

Decl., ECF 13-19; Johnston Decl., ECF 13-20.

       Second, as Plaintiffs pointed out in their filing of May 28, 2025, in Widakuswara v. Lake

and related appeals, the D.C. Circuit en banc granted reconsideration with respect to the portion of

the district court’s preliminary injunctions requiring the U.S. Agency for Global Media to restore

grants it had terminated and denied the government’s motion for a stay pending appeal. Order,

Nos. 25-5150, 25-5151, Doc. #2117911, at 2 (D.C. Cir. May 28, 2025). That decision leaves in

force the preliminary injunctions restoring the grants the agency had terminated, and reflects the

en banc court’s conclusion that the government was not likely to prevail on its Tucker Act

arguments, as explained in Judge Pillard’s well-reasoned dissent from the motions panel’s initial

stay order. Id. (citing Judge Pillard’s dissent from the motions panel’s stay order).

II. In the alternative, Plaintiffs respectfully request that the Court grant Plaintiffs’ motion
    for a preliminary injunction within seven days.

       In the event this Court determines not to grant Plaintiffs’ motion for a narrow TRO,

Plaintiffs respectfully request the Court issue a preliminary injunction within seven days. For the

reasons set forth in Plaintiffs’ briefing, declarations, and at the April 30, 2025 hearing, Plaintiffs

are likely to succeed on the merits of their claims and have shown they satisfy the remaining factors

meriting preliminary injunctive relief. In light of the risk of imminent harm to Plaintiffs’ members,

discussed in Part I above, Plaintiffs require some form of temporary or preliminary injunctive relief

as soon as feasible.

       Plaintiffs further note that, because the existence of a staff is essential to complying with

statutory mandates, Agency Defendants’ compliance with the provision of the proposed

preliminary injunction order requiring Agency Defendants to comply with Congressional statutes,



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see ECF 13-21 at 2, necessarily requires IMLS to retain sufficient employees and contractors, and

the Court has jurisdiction to order personnel actions to effectuate that provision. See Order, No.

25-5145, Doc. #2117869 (D.C. Cir. May 28, 2025) (Srinivasan, J.) (statement by Judge Srinivasan,

joined by six other members of the D.C. Circuit en banc panel, indicating that the district court

may have jurisdiction to order personnel actions necessary or appropriate to carry out the agency’s

statutory mandate under the provisions of the district court’s order still in force—even beyond

those that the government itself determines are necessary).

 Dated: June 2, 2025                                Respectfully submitted,

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